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(7) LBG/JJI: USAO 2020R00527
MAR 372021
IN THE UNITED STATES DISTRICT COURT pT OHEENBELT
COURT
FOR THE DISTRICT OF MARYLAND . CA OF MARYLAND
UNITED STATES OF AMERICA *
*
v. * FILED UNDER SEAL

*

DARIUS LAWRENCE YOUNG, * CASE NO. GLS-21-0911
a/k/a “Mup”, *

CHRISTOPHER ALLEN YOUNG, * CASE NO. GLS-21-0912
j a/k/a “40”, *

ANTHONY ERIK HEBRON, * CASE NO. GLS-21-0913
a/k/a “Pain”, a

TRAY DAVID SHERMAN, * CASE NO. GLS-21-0914
a/k/a “Racks”, *

a/k/a “Fat Det”, and * CASE NO. GLS-21-0915
LAMAR JAMAL PERKINS, *
a/k/a “Lou,” *
*
Defendants *

*
KREKKEKE

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINTS AND ARREST WARRANTS
I, Eric Montgomery, being duly sworn, hereby depose and state as follows:
Introduction and Agent Background
1. I make this affidavit in support of criminal complaints and arrest warrants. Based
on the following facts, there is probable cause to believe that on or about February 3, 2021, in the
District of Maryland and elsewhere, DARIUS LAWRENCE YOUNG, a/k/a “Mup”) (“MUP”),
CHRISTOPHER ALLEN YOUNG, a/k/a “40” (“YOUNG”), ANTHONY ERIK HEBRON,

a/k/a “Pain” (“HEBRON”), TRAY DAIVD SHERMAN, a/k/a “Racks,” a/k/a “Fat Det”
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(‘SHERMAN’), and LAMAR JAMAL PERKINS, a/k/a “Lou” (“PERKINS”) conspired to
commit a kidnapping, in violation of 18 U.S.C. § 1201(c).

2. I am an “investigative or law enforcement officer of the United States” within the
meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by law
to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516.

3. Your affiant has been a Special Agent of the FBI since May 2008. Your affiant is
currently assigned to the Washington Field Office, Safe Streets Task Force, and has been since
2016. Your affiant has drafted dozens of affidavits in support of search warrants that have resulted
in the arrests of numerous individuals and the recovery of crucial evidence.

4. Except where otherwise noted, the information set forth in this affidavit has been
compiled personally by me, or provided to me, by other law enforcement officers with whom I
have spoken or whose reports I have reviewed. Because this affidavit is submitted for the limited
purpose of seeking the requested criminal complaints and arrest warrants, I have not set forth each
and every fact learned during this investigation.

5. Unless otherwise noted, wherever in this affidavit I assert that a statement was
made, that statement is described in substance and is not intended to be a verbatim recitation of
such statement. Wherever in this affidavit I quote statements, those quotations have been taken
from draft transcripts, which are subject to further revision.

6. Unless otherwise stated, the conclusions and beliefs I express in this affidavit are
based on my training, experience, and knowledge of the investigation, and reasonable inferences

I have drawn from my training, experience, and knowledge of the investigation.
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Probable Cause

February 3, 2021: Kidnapping, Robbery, and Assault

 

7. According to surveillance footage obtained from the MGM Grand Hotel & Casino
(the “MGM Casino”) in National Harbor, Maryland, at approximately 7:30 a.m. on February 3,
2021, SHERMAN and HEBRON and a light skinned Middle Eastern male (“Victim”) were
observed walking together on the P4 level of the MGM Casino parking garage in Oxon Hill,
Maryland. The surveillance footage further shows the three men walking toward a black sedan
parked in the garage. Moments later, on another MGM Casino security camera, a black Mercedes
Benz sedan with a partially cracked windshield and a damaged front grill (““SSHERMAN’s
Mercedes Benz”) is observed driving through the same parking garage. According to MGM
Casino’s surveillance footage, SHERMAN’s Mercedes Benz exited the MGM Casino’s parking
garage at approximately 7:32 a.m.

8. At approximately 7:41 a.m., on February 3, 2021, SHERMAN’s Mercedes Benz
registered on the Prince George’s County, Maryland, License Plate Reader (“LPR”) system on the
National Harbor Outbound camera. This camera is near the MGM Casino and is located along the
primary egress route from the MGM Casino.

a At approximately 7:54 a.m., on February 3, 2021, SHERMAN’s Mercedes Benz
was seen on surveillance footage at District Wharf, a commercial waterfront area in Washington,
D.C. The surveillance footage shows SHERMAN’s Mercedes Benz pull up and park in front of
a certain address in Washington, D.C. The surveillance footage shows the Victim exit
SHERMAN ’s Mercedes Benz from the rear passenger door and SHERMAN exit the driver’s side
of his Mercedes Benz. The Victim briefly enters the commercial business at the certain address in

Washington, D.C., and then walks toward another nearby commercial business. The Victim is seen
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meeting with an unknown male and they appear to give each other something. At approximately
7:59 a.m., the Victim then entered the rear passenger side door of SHERMAN’s Mercedes Benz
and SHERMAN’s Mercedes Benz leaves the area.

10. At approximately 8:12 a.m., on February 3, 2021, HEBRON (using a phone
number subscribed to him) called YOUNG (using a number law enforcement knows to be used
by YOUNG). The call lasted for 58 seconds.

11. | Approximately a minute later, at 8:13 a.m., MUP received an incoming call from
YOUNG on (301) 732-0933. The call was intercepted pursuant to a federal wiretap order. The
following is a preliminary and partial transcript of the pertinent intercepted conversation (session
#0024):

YOUNG: Hello?

MUP: Yeah?

YOUNG: Hey you got some gloves in there?

MUP: What kind?

YOUNG: Any kind, like I’m trving--, I need the work gloves.

MUP: No, I ain’t got them.

YOUNG: Man, [UI] ° you got some latex?

MUP: Nah. Hold on, I think mom got some in her room.

YOUNG: Nah man, I’m about to stop at the store. Alright. I might a, uh, go, uh,

[UL] something with, uh, “Pain” and “Racks.” They already snatched a
nigga and all that, I just got [UI].

[Break]

YOUNG: ... matter of fact, this is what I want vou do. Hold on, shit. ‘Cause I don't,

I, [ want to leave my car in front of the house, but I don’t want to really
put on camera getting in the car [UI]

 

> “UT” stands for unintelligible.
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MUP: Fuck no! Don’t put your car on no camera!

YOUNG: Huh?

MUP: Unless you motherfucking change the tags.

YOUNG: Man, change tags? I ain’t got no time for that, man. Put your clothes on.
MUP: Shit, ain't nothing!

YOUNG: Huh?

MUP: That shit don’t take no time.

YOUNG: Man, fuck all that. They ready now and they already got the nigga. What
part don't you understand?

MUP: Well, don’t put your car on no camera, what the fuck is you talking about?
I’m trying to tell you, that shit ain’t going to take no--, no, man...

YOUNG: [talking at the same time] No, man, I was about to tell vou, listen...

MUP: ... that shit don’t take nothing but a few seconds.

YOUNG: Man, I was about to tell your ass, look, you can, mother fucking, put your
clothes on, right? And, mother fucking, you going to pull off with me, and
L’m going to just meet them off camera somewhere. ‘Cause, I, I, they going
to know my car regardless, pulling it in the circle. I don’t know if these
niggas got the nigga’s head down or nothing. You know what I’m saying?

[Break]

YOUNG: Yeah, I’m about to, uh, come up there in a minute.

[Break]

MUP: How far is vou away?

YOUNG: Hello, let me call you right back.

[Call ended. ]

12. At approximately 8:15 a.m. and 8:16 a.m., there are two calls between HEBRON

and YOUNG. The calls last approximately one minute each.
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13. At approximately 8:19 a.m., MUP received another incoming call from YOUNG.
The following is a preliminary and partial transcript of the pertinent intercepted conversation
(session #0028):
MUP: Yeah?
YOUNG: Hey, I’m about to trv to put you on the joint.
MUP: On what?
YOUNG: The move.
MUP: Where you at now?
YOUNG: Man, --
MUP: So, get ready?
YOUNG: Yeah, try to get ready, I’m about to see you know.
MUP: Let me know before, so I come out.
[Call ended. ]
14. At approximately 8:20 am., YOUNG called HEBRON. The call lasted for
approximately one minute and thirty-two seconds.
15. A minute later, at 8:21 a.m., MUP received another incoming call from YOUNG.
The following is a preliminary and partial transcript of the pertinent intercepted conversation
, (session #0032):
MUP: Hello?
YOUNG: Hey, hurry, bro. I’m coming up the hill, man. Hurry up. Just throw whatever
vou have on, on. You dont got no--, and get any kind of gloves, bro, ‘cause
all we got to do is sit in the car with the nigga while they search the house.

MUP: Alight.

YOUNG: And, mother fucking, hurry up, bro. I’m coming up the hill, literally. They're
ready.
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MUP: Alright.

YOUNG: That mother fucking, uh, and I was about to say, make sure you got some
gloves on, or at least some socks.

MUP: Alright. Do you got gloves?

YOUNG: I got gloves, I just stop--. I just thought about this shit, but they’re saying
they aint got no zip ties or nothing. If the nigga gets feisty, | dont want to
have to crush him.

MUP: Yeah, and might as well not touch nothing, just in case its got to go to this.

YOUNG: But, the thing about it, me and you going to get less than a break down than
them. Right? They going to break me down an equal share and I told them
I'd break you something.

MUP: Alright.

YOUNG: ‘Cause, I dont know how much, I dont give a fuck [UI] we going to get
back. We ain't doing shit anyway, you hear me?

MUP: Yeah.

YOUNG: We're just riding along. Alright. I’m about to, uh, vou ready? You coming

outside?

MUP: Yeah, I just got put on my mother fucking socks on.

YOUNG: Alright, hurry up. ‘Cause I’m about to tell them niggas, man I’m probably
[UI] walk to [UI].

MUP: Alright, I got my gloves too, and I got my ski mask.

YOUNG: Alright, come on, hurry up, bro. I’m outside.

[Call ended. ]

16. Your affiant believes that in the above series of conversations, YOUNG called
MUP to alert him of a money-making opportunity that involved a kidnapping and robbery of an
individual. In session #0024, YOUNG explained that, “...Pain and Racks. They already snatched

a nigga...” Law enforcement knows “Pain” is a nickname for HEBRON and “Racks” is a
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nickname for SHERMAN. YOUNG went on to express concerns about his car being seen by a
surveillance camera in the “circle” (a nickname for the cul-de-sac in the 600 block of 46th Place
SE, Washington, D.C.). MUP replied, “Fuck no! Don’t put your car on no camera...Unless you
motherfucking change the tags.’ YOUNG did not want to risk the possibility of the Victim seeing
his car. YOUNG explained that he did not have much information about how the Victim was being
transported. YOUNG said, “/ don’t know if these niggas got the nigga’s head down or nothing.”
Your affiant believes YOUNG was saying that he did not know whether the kidnappers had put
the Victim’s head down and was unsure whether the Victim could see where they were taking him.

V7: In session #0028, YOUNG invited MUP into the kidnapping conspiracy by saying
“Hey, I’m about to try to put you on the joint.” MUP eagerly replied, “So get ready?,” asking
YOUNG if he (MUP) should start getting ready now.

18. — In session #0032, YOUNG told MUP that he (YOUNG) was almost to MUP’s
house and told him to “hurry up. Just throw whatever vou have on on.” YOUNG also advised
MUP to “grab a pair of gloves” quickly because they (YOUNG and MUP) would be sitting in a
car with the kidnapping Victim while other subjects robbed the Victim’s residence. YOUNG
explained this when he said, “all we got to do is sit in the car with the nigga while thev search the
house.” MUP replied, “Alright, I got my gloves too, and I got my ski mask,” which clearly
demonstrated MUP’s desire to participate in the crime and to conceal his identity from the victim
and/or onlookers. Ski masks and gloves are commonly used by individuals committing crimes in
order to hide their identity and reduce the chance of leaving forensic evidence at the crime scene.

19, In the same call (session #0032), YOUNG talked about the financial arrangement,
or the “break down.” YOUNG explained to MUP that the individuals committing the crime would

split the proceeds of the robbery. When YOUNG told MUP, “they going to break me down an
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equal share and I told them I'd break you something,’ YOUNG was explaining that he (YOUNG)
would pay MUP from YOUNG’s share of the proceeds.

20. Between 8:22 a.m. and 8:30 am., YOUNG called HEBRON approximately six
times. The calls lasted a total of approximately four minutes and twenty-three seconds.

21. At 8:23 a.m., law enforcement observed a dark colored Infiniti Sports Utility
Vehicle, known to law enforcement to be regularly driven by YOUNG (hereinafter “YOUNG’s
Infiniti SUV”), drive into and exit the 600 block of 46th Place, SE, Washington, D.C.

22. At 8:28 a.m., law enforcement observed YOUNG and MUP walking together on
the sidewalk along 46th Place, SE. MUP was wearing light colored blue jeans and a white puffy
winter jacket. YOUNG was wearing all dark clothing. Later, at approximately 8:53 a.m., law
enforcement observed YOUNG’s Infiniti SUV parked and unoccupied at the corner of 46th Place,
SE and G Street, SE, in the immediate vicinity of MUP’s residence.

Z3. At approximately 9:08 a.m., MUP placed an outgoing call to PERKINS. The
following is a preliminary partial transcript of the pertinent intercepted conversation (Session
0034):

MUP: hey where vou at?

PERKINS: = lam in the trap.

MUP: hey watch out for 12, you hear me?

[Break]

PERKINS: = What vou mean?

MUP: Nah I just said just let me know if thev come in and out of the circle.

PERKINS: — You said let you know if they is?

MUP: ya.
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PERKINS:

MUP:
PERKINS:
MUP:
PERKINS:
MUP:
PERKINS:
[Break]
PERKINS:
MUP:
PERKINS:
MUP:

PERKINS:

So what the fuck am I supposed to do if they is? I dont know [UI] looking

for

Just let me ... Sit the fuck down, alright sit down though

What you in the crib?

Naw the high rise jaunt [UI] snatched a nigger .... Man sit the fuck down.
You said you where?

Behind Racks building, all the way in like a lil..

A lil room?

What yall drove up there or y’all came through the woods?

Woods.

Nah y'all good. One of y'all need to go down there and move that car [UI].
Aight.

If y'all got y’all car in that back parking lot, somebody need to go down
there and hurry up and aide and assist out there [UI]

24. Your affiant believes in the above conversation, MUP placed a call to PERKINS,

who was acting as a lookout for the individuals involved in the kidnapping. MUP, who was in the

basement level “boiler room” guarding the kidnapping victim, asks PERKINS, “Where you at?”

PERKINS responds, “/ am in the trap.”. MUP then says to PERKINS, “Hey watch out for 12

vou hear me?” PERKINS responds, “What you mean?” MUP clarifies “Nah I just said just let

me know if they come in and out of the circle.” The term “12” is widely known as a slang term for

police. Your affiant believes that in this conversation, MUP is asking PERKINS to be on the

lookout for police entering the 600 block of 46th Place south east Washington, D.C. and to let him

(MUP) know if there is police activity in the 600 block of 46" Place south east Washington, D.C.

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25. As the conversation continues, PERKINS says to MUP, “What you in the crib?”
MUP responds, “Naw the highrise jaunt [UI] snatched a nigger .... Man sit the fuck down.”
PERKINS then asked MUP, “You said you where?” MUP clarified, “Behind Racks building,
all the way in like a lil..”. PERKINS replied “A lil room?” Your affiant believes in the above
conversation, MUP tells PERKINS that they kidnapped someone (“‘snatched a nigger’) and they
have him in “the highrise jaunt,” referring to 600 46th Place south east Washington, D.C., a multi-
story apartment building. MUP is heard saying, “Man sit the fuck down” to the Victim, who MUP
and YOUNG were holding against his will in the “boiler room” of 600 46th Place south east
Washington, D.C.

26. As the conversation continues, PERKINS asks MUP, “What v'all drove up there
or y'all came through the woods?” MUP responds, “Woods.” Your affiant believes in that part of
the conversation, MUP is describing how they got to the location where the Victim was being held
against his well. PERKINS is familiar with the location because he asks, “What y'all drove up
there or y'all came through the woods?”

27. At approximately 9:16 a.m., PERKINS placed an outgoing call to MUP. The
following is a preliminary partial transcript of the pertinent intercepted conversation (Session
0035):

MUP: hello

PERKINS: = hey aint no body comin back there, hey look peep out that door make sure

aint nobody comin back there, this lil like blue toyota pulled up but I aint
see get out like they jumped straight out [UI] with an uber eats but I dont
see where they go at ? And its facing like [an individual] s building like
towards the playground, but I dont see aint no body get out that bitch

MUP: mmm I dont see nobody either though

PERKINS: = aight just just stay right there for a minute make sure cus I dont see nobody
in that mother ain t nobody do that

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MUP: aight I’m bout to walk out right quick, nobody shoulda seen us yo, nah I
dont see nobody

28. Your affiant believes in the above conversation, PERKINS placed a call to MUP
to inform him that there may be someone coming towards MUP’s location, which is where the
Victim was being held. PERKINS says, “.... hey look peep out that door make sure ain t nobody
comin back there, this lil like blue toyota pulled up but I ain t see get out like they jumped straight
out [UL] with an uber eats but I dont see where they go at? And its facing like [an individual] s
building like towards the playground, but I dont see aint no body get out that bitch.”” MUP
responded, “nobody shoulda seen us yo, nah I dont see nobody.”” MUP indicated he looked out
from his location where MUP and YOUNG were holding the Victim and didn’t see anyone coming
toward their location.

29. At approximately 9:31 a.m., MUP placed an outgoing call to PERKINS. The
following is a preliminary partial transcript of the pertinent intercepted conversation (session
#0037):

PERKINS: Hello?

MUP: [UI] who up there? Aint nobody up there?

PERKINS: = Hey, nah, look. Hey, close that door, bro, ‘cause the maintenance nigga

walking back there. And it’s the nosey nigga, and I dont want him--. Alright,

he gone, he going toward the other place, he going toward the back of the
old rec, he aint coming behind that building.

MUP: Alright.

PERKINS: = Just make sure the nigga not yell [UI].

MUP: Alright, that’s why I want to just gag his ass. He talk too much anyway.
PERKINS: = Nah, nah, you dont want to do that, bro. Mace his ass or something.

MUP: Alright.

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PERKINS: _ Yeah, like mace him. Dont stab him. I’m about to come --

MUP: No, I said “gag.”

PERKINS: Gag? What do you mean?

MUP: Like, put something in his mouth.

PERKINS: Oh yeah, [UI] do. Duct tape that shit.

30. Your affiant believes in the above conversation, MUP placed a call to PERKINS,

, Who was acting as a lookout for the individuals involved in the kidnapping. MUP, who was in the
basement level “boiler room” guarding the kidnapping victim, called PERKINS and asked, “who
up there? Aint nobody up there?” to see if there was anyone out in the “circle” that could cause
them to be caught or identified. PERKINS told MUP to “Close that door, brother” because there
was a maintenance worker walking nearby. PERKINS also told MUP to “just make sure the nigga
not yell,” meaning to make sure the victim kept quiet so the victim did not draw any unwanted
attention. MUP answered “J want to gag his ass. He talk too much anyway,” which confirms that
MUP was holding somebody against their will and wanted them to remain quiet. There was
apparently some confusion over the term “gagging” and MUP explained to PERKINS that
“gagging” meant to put something in the victim’s mouth to keep him quiet. PERKINS replied,

/ “Oh yeah...duct tape that shit,” suggesting that MUP use duct tape over the victim’s mouth to
keep the victim quiet.

31. At approximately 10:04 a.m., two individuals believed to be SHERMAN and
HEBRON, based on their physical appearances and clothing, are observed on surveillance footage
at the MGM Casino, on the same floor as the Victim’s hotel room. The two individuals are
attempting to conceal their identity and avoid over exposure to the hotel security cameras. At

approximately 10:05 a.m., the two individuals appeared to enter a doorway at the end of the

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hallway, which is consistent with the location of the Victim’s hotel room. At approximately, 10:18

a.m., SHERMAN and HEBRON appeared to exit from the same hotel room and walk down the

hotel hallway. SHERMAN was wearing a backpack and HEBRON was pulling a roller suitcase

behind him. When SHERMAN and HEBRON were observed in the same hallway at 10:04 a.m.,

prior to entering the hotel room, they did not have a backpack or roller suitcase in their possession.

32. At 10:44 a.m., MUP placed an outgoing call to PERKINS. The following is a

preliminary partial transcript of the pertinent intercepted conversation (session #0039):

PERKINS:

MUP:

PERKINS:

MUP:

PERKINS:

MUP:

PERKINS:

MUP:

PERKINS:

MUP:

[Call ended. ]

Hello?

Hey, who out there?

Aint nobody out here.

Alright.

I’m saying, like theres people out here. Like [two other individuals],
everybody out, [another individual], but there ain t no people out here if vou
can hurry up and walk from back of there.

Nah, we’re going straight through the woods.

Oh, you’re going straight through the woods? Nah, go ahead and hurry
up. There ain t nobody out here.

Alright.
You got to hurry up though.

Uh huh.

33. Your affiant believes that in the above conversation, MUP called PERKINS again

to determine who was around and whether it was safe for them to emerge from the location in

which they were holding the Victim. PERKINS replied, “...there ain t no people out here, if vou

can hurry up and walk from back of there.”” MUP and PERKINS continued to discuss MUP’s

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exit strategy in order to keep themselves hidden from view. MUP explained that he did not intend
to walk around to the front of the building but explained “we ’re going straight through the woods.”
34. At approximately 10:55 a.m., MUP placed an outgoing call to HEBRON. The

, following is a preliminary partial transcript of the pertinent intercepted conversation (Session

0041):
MUP: where y'all at?
[heavy breathing]
MUP: where y'all at?

HEBRON: _ yall cool?

MUP: yeah we alright

HEBRON: = aight where the fuck y'all at?

MUP: bout to walk around [UIT] like shit

35. Your affiant believes the above conversation illustrates that MUP and HEBRON

/ are trying to locate each other and meet up. This is further corroborated when at approximately

10:57 a.m. law enforcement observe YOUNG and MUP exiting the wood line directly behind the
building at 604 46th Place SE, Washington, D.C.

Law Enforcement Locate the Victim

 

36. At approximately 10:57 a.m., law enforcement arrived in the area of the “circle”
and quickly encountered a light skinned Middle Eastern male (the “Victim”) in the 500 block of
46th Street, SE, Washington, D.C. (which is directly behind and to the north of 600-604 46th Place
SE). The Victim appeared to look like, and wore the same clothes as, the Middle Eastern man who
was observed on the MGM Casino surveillance footage leaving the MGM Casino earlier that

morning. The Victim had blood running down the front of his face from the top of his head. The

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Victim also appeared to have a cut on his mouth and eye and a broken and swollen nose.

a7 The Victim initially told law enforcement that he obtained his injuries from falling
on the ice. Later, the Victim stated that he had been at the MGM Casino, but had left the MGM
Casino in a black vehicle with two unknown black males. The Victim said he got in the black
vehicle with the two unknown black males because one of the black males told the Victim that if
the Victim got them cocaine, the black male would pay the Victim and get some women to have
sex with the Victim.

38. After leaving the MGM Casino, the Victim and the two unknown black males drove
to the District Wharf in Southeast, Washington, D.C., where the Victim’s source of cocaine was
located. Once at the District Wharf, the Victim said he met with his cocaine source, obtained the
ounce of cocaine, and got back in the black vehicle with the two unknown black males. (This is
consistent with the surveillance footage mentioned above from the District Wharf.)

39. According to the Victim, after leaving the District Wharf, the black vehicle with the
two unknown black males drove to another area in Southeast, D.C., and stopped. The Victim stated
that he bent over in his seat to do some cocaine and when he (the Victim) looked back up, the front
passenger in the black vehicle put a gun to his face and started to threaten him. At this point two
more unknown black males got into the back seat of the black vehicle and sandwiched him in the
middle of them. The male to his left had a white puffy jacket on (the same color jacket law
enforcement saw MUP wearing earlier in the day) and the male to his right was taller, slender, and
wearing black cloths. The individual in the white coat had a small Glock pistol. The unknown
black males threatened him with the guns and continued to drive the black vehicle around the

corner to a parking lot.

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AQ. The Victim stated that the two individuals in the back seat with him held a gun to
s his lower back after removing him from the black vehicle. They then walked the Victim up a hill,
to a maintenance or boiler room of an apartment building where the Victim was physically
assaulted, threatened, and held captive. The driver and passenger of the black vehicle stayed in
the vehicle and the Victim said they then returned to the MGM Casino to steal all of his belongings
from his room. The Victim knew the driver and passenger went to his hotel room because they
kept calling the unknown males who were with him, asking for information regarding his (the
Victim’s) hotel room. The unknown males who were with him would answer the phone and
request information from the Victim. At first, the Victim refused, but after they beat the Victim,
threatened the Victim’s life, and took the Victim’s belongings, the Victim gave up. The Victim
stated that he gave his captors the code to the safe in his room and the code to his cell phone.
‘ During the abduction, the assailants took the Victim’s hotel key, watch, wallet, identification,
phone, belt, and the ounce of cocaine the Victim had just acquired from his cocaine source. They
also pointed a gun at the Victim, placed a gun in the Victim’s mouth, and hit the Victim in the face
and head with a gun. After a period of time, the assailants left the boiler room and released the
Victim.
Al. Around the same time law enforcement encountered the Victim (approximately
10:57 a.m.), law enforcement also observed MUP (wearing a white puffy jacket) and YOUNG
walking between the wood line and the back of 600-604 46th Place, SE. MUP and YOUNG
continued to walk on the east side of 46th Street SE in the direction of G Street, SE, before they

walked between two buildings and headed toward the 600 block of 46th Place, SE. Moments later,

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MUP and YOUNG returned to and entered YOUNG’s Infiniti SUV, which was parked at the
intersection of G Street and 46th Place SE, and departed the area.

Post-Kidnapping Intercepted Calls

 

42. At approximately 11:00 a.m. the same day (February 3, 2021), MUP placed an
outgoing call to HEBRON. During the call, there are four voices overheard. It is my belief that
both phones are on speaker and that on one phone is MUP and YOUNG (in YOUNG’s Infiniti
SUV) and on the other phone is SHERMAN and HEBRON (in SHERMAN’s Mercedes Benz).
At the beginning of the call, the participants talk about seeing law enforcement in the area of the
“circle” (the cul-de-sac in the 600 block of 46th Place, SE, Washington, D.C.). One of the
participants said, “it was the WAVE team” (meaning the Prince George’s County Police
Department’s Auto Theft Task Force), then the conversation continued as below. The following is
a preliminary partial transcript of several pertinent segments of the intercepted conversation
(session #0044):

HEBRON: — Thats what y'all were supposed to do. You were supposed to told that nigga,

“yeah, we got your address, nigga...Y’all supposed to took everything off
him --”

YOUNG: Hey, Pain, hold, hold! Man, you're talking to a mother fucking vet! [UI],

that nigga was scared as shit! I said, “If the police come, or anything come,
I got your address. Mom Dukes, your little brother, all them is gone!”

43. Your affiant believes in the above portion of the conversation, the group discussed
how they handled the Victim roughly to dissuade him from going to the police. One of the
participants bragged that he was a veteran criminal and he reminded the Victim that they knew his
address and would kill the Victim’s family members if the Victim went to the police (“Jf the police
come...1 got your address ... all them is gone!’’). The conversation continued, as follows (session

#0044):

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YOUNG:
HEBRON:
YOUNG:
HEBRON:
[Break]

SHERMAN:

...Hey young, you know who I thought he was, bro?
Who?
The other dude, you been telling me about.

Nah, hell, nah! We aint catching him on no humble like that.

Hey 40, I aint gonna lie, bro, this was just like a little, uh, uh, spur of the
moment, little sweet lick, bro, that we were just talking like, not passing up
no more licks.

44, Your affiant believes in this portion of the call, the participants talk about another

potential kidnapping victim that they have been targeting, but one that will be more challenging to

abduct. One of the participants says, “We ain t going to catch him [the more challenging target] on

a humble like that,” meaning, the current kidnapping operation was a spur of the moment decision

to take a target of opportunity, but the other target will require more planning. The conversation

continued (session #0044):

YOUNG:

MUP:

Hey bro, Allah, he, that nigga told me everything. I said, “young if they find
us,” I was trying to do the reverse psychology. I was like, man, I said “I see
why you so tense—", I said "cause you know that money in there and when
we find out that money in there, you going to die.” I said, I said, “don't
worry about it.”” Me and MUP was playing good cop bad cop on their ass...
mean good cop, bad robber.

Uh huh. Hey, 40 was bi-polar. He would be cool with him, then
motherfucking do the crazy. He said, 40 told his ass, “When you think of
somebody, raise a hand. Other than that, shut the fuck up!”

45. Your affiant believes in this portion of the conversation, YOUNG explained how

he threatened to kill the Victim if they later found out he was lying (“vou know that money in there

and when we find out that money in there, vou going to die”). Apparently, the Victim told the

assailants that there was no money in his hotel safe. YOUNG told the Victim that he (the Victim)

would die if the others who went back to his MGM Casino hotel room did find money in the safe.

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’ Then MUP bragged about how YOUNG (“40”) spoke harshly to the Victim while they tried to
get him to think of people they could extort, likely by forcing them to pay a ransom (“When you
think of somebody, raise a hand. Other than that shut the fuck up!”’). The conversation continued
as they discussed whether to use the credit, debit, and/or gift cards they stole from the Victim
(session #0044):

SHERMAN: I mean if vou do it, we got to do it now, we got to hurry up.
YOUNG: Yeah, we got to do that shit now. He aint got no phone or nothing.
MUP: You got--, hey, you can get in his phone right?

SHERMAN: J just feel like I’m leaving a paper trail, slim.

YOUNG: No, we already left a paper trail by y’all snatching him in your car and me
pulling up the way and we holding him captive, thats the way.

46. Your affiant believes in the above segment of the conversation, the subjects debated
whether or not to use the credit, debit, and/or gift cards they stole form the Victim. SHERMAN
expressed concerns about leaving a “paper trail” or evidence that they were responsible for the
kidnapping. The conversation turned to security cameras and continued as follows (session #0044):

YOUNG: Nah, [UL] there was a big ass camera behind that building.

SHERMAN: Ay, man.

YOUNG: But we put him in the boiler room. We took him inside so nobody aint see

us, or hear. They just seen us walking back there. They dont know what we
did.

SHERMAN: Oh, I’m saying, did the camera see my car?

UM®: Nah, nah.

YOUNG: Nah, the car was at MGM, right?

SHERMAN: Yeah, I mean that camera for sure, for sure seen that, but--

 

6 “LJM” stands for an unknown male.

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YOUNG: Yeah, bro, if the nigga snitch, all he going to say is the niggas grabbed him
from MGM and he met up with other motherfuckers. So, regardless, if he
snitch, we might be hit. Fuck it. Fuck him.

[Break]

SHERMAN: That MGM shit aint about nothing like, what the fuck [UI], he walked us
in, walked with us, [UI] or nothing...I don't know what happened to you.
That nigga be lying.

YOUNG: Man, that nigga aint going to tell, man. Man, y'all took coke and weed from
that man, he aint going to tell nothing... man, the nigga said, he said “bro,
Just swipe all the cards. I dont care,” he said “you got all day, I'm going to
call tomorrow and report them stolen.”

SHERMAN: / aint no dummy... right now, he could rat on me.

[Break]

YOUNG: Man, you can swipe the money off the ATM, at a Wells Fargo ATM.

47. Your affiant believes in the above described portions of the call, the subjects were

worried that they may have been caught on video cameras—both in the location where they held

the Victim hostage and at the MGM Casino where they initially met the Victim, and later returned

to search the Victim’s hotel room. YOUNG went so far as to essentially give a full confession by

saying, “But we put him in the boiler room. We took him inside so nobody aint see us, or hear.

They just seen us walking out there. They don t know what we did.” Then the conversation returns

to the gift cards. YOUNG claimed the victim encouraged the subjects to go forward and steal

money off the cards by saying, “bro, just swipe all the cards. I dont care...vou got all day, I’m

going to call tomorrow and report them stolen.” The conversation continued as follows (session

#0044):

SHERMAN:

YOUNG:

...1 was just on camera with the nigga, bro. We was just with him. I already
took plenty of chances by going back up there in my own shit. That was the
point of me calling you, so I wont go up there in my own shit again.

Yeah.

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SHERMAN:

Then I’m saying, bro, like, I can beat the fact that if he rats, like, yeah, they,
we, he to, he walked us to the room. Walked us out. We just smoked outside,
we just walked to my car, we came back in different clothes, you know what
I’m saying? We cool. But when you get to swiping the card, that shit going
to support his, his, his story, somebody robbed him, ‘cause somebody used
his cards. You get what I’m saying?

48. Your affiant believes in this portion of the call, SHERMAN worried about going

back to the casino in his own car (his own “shit’). Then SHERMAN tried to convince himself not

to worry and suggested that they make up a story to conceal the fact that they had kidnapped the

victim (“He walked us to the room. Walked us out. We just smoked outside, we just walked to my

car.’). The conversation returned to the violence they had inflicted upon the Victim (session

#0044):
YOUNG:
SHERMAN:
[Break]
YOUNG:

SHERMAN:

YOUNG:

SHERMAN:

YOUNG:

Son, that nigga, swear to God, he got smacked with a pistol and all that.

He was fucked up, bro!

Pain smacked the sense out of his ass.

Man, on my mother, he aint going to the law, bro...hes fucked up, hes
twisted, bro.

Man, that nigga say “I'm never fucking with no DC niggas ever again in
my life. Fuck no!”

Thats what he said?

Bro, he look like he was about cry, he meant that shit...

49, Your affiant believes in the above final portion of the conversation, YOUNG and

SHERMAN talk about the violence inflicted upon the Victim, saying “He got smacked with a

pistol,” “Pain [law enforcement knows “Pain” is a nickname for HEBRON] smacked the sense

out of his ass.” SHERMAN referenced the Victim’s injuries, likely his broken nose when he said

“hes fucked up, he’s twisted.” Finally, they talk about how the Victim promised not to go to the

police and YOUNG remarked “he was about to cry, he meant that shit.”

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Law Enforcement Recovered Firearm on February 3, 2021

 

50. On February 3, 2021, at approximately 11:00 a.m., members of the FBI/MPD Safe
Streets Task Force were in the area of 46th Street and G Street SE in reference to the possible
kidnapping that occurred. Law enforcement observed a black Infiniti Q60S with a temporary
Maryland registration number (“black Infiniti”) depart the area at a high rate of speed and pass
through the stop sign at 46th Street and G Street SE without stopping. Law enforcement attempted
to follow the black Infiniti in an attempt to affect a vehicle traffic stop. The black Infiniti continued
to elude law enforcement at a high rate of speed.

51. Approximately 10 to 15 minutes later, the black Infiniti was observed entering onto
the 600 block of 46th Place SE and come to a stop. The driver and the front passenger exited out
of the vehicle. A short time later, surveillance video shows an individual later identified as
PERKINS walk up to the black Infiniti and place a brown backpack and shopping bag in the front
passenger seat area of the black Infiniti. PERKINS was observed turning toward the backseat
(behind the front passenger seat) of the black Infiniti, bend at the waist, and extend his arm towards
the backseat.

52. Law enforcement responded to the scene and detained the driver, front passenger,
and PERKINS, who were all standing next to the black Infiniti. Law enforcement conducted a
drug canine scan of the black Infiniti, and the drug canine gave a positive alert for narcotics in the
vicinity of the driver’s side door of the black Infiniti.

53. Based on the positive narcotics hit on the black Infiniti, law enforcement searched
the black Infiniti. Recovered from the floorboard behind the front passenger seat was a black
Glock .45 caliber, model 30, semi-automatic handgun. Recovered from the front passenger side

seat of the black Infiniti was a brown backpack. The backpack contained 14 clear sandwich bags

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each containing approximately 29 grams of suspected marijuana (406 grams total). The backpack
also contained 11 Naloxone films, 17 red Mylar packets, and $6.66 of US currency. A portion of
the suspected marijuana from one of the clear sandwich bags was field tested and produced a
positive color reaction to THC, which is the active chemical in marijuana. The firearm was
swabbed for DNA.

Law Enforcement Located Foot Path, Boiler Room, and Victim Hotel Room

 

54. Later the same day, on February 3, 2021, law enforcement went back to the 500
block of 46th Street SE to search for a path through the woods, as was discussed in the above call
and confirmed by the Victim. The Victim reported that his assailants had parked in a small parking
lot, walked up a steep, wooded hill, went through a cut in the fence, and into a doorway on the rear
side of an apartment building. Once law enforcement arrived in the 500 block of 46th Street, SE,
they quickly located a footpath, followed it uphill, through a wooded area to the back of the
apartment building at 600-604 46th Place, SE. An unlocked door was found a short distance from
the fence, which lead to a utility room for the apartment building. The Victim told law enforcement
that he was seated on a milk crate while being held in the boiler room. Law enforcement officers
found a single milk crate in the utility room of 600-604 46th Place, SE. Also, when law
enforcement observed YOUNG and MUP walk out from between the wood line and 600-604 46th
Place, SE, at approximately 10:57 a.m., they were walking from the direction of the same
utility/boiler room.

55. The same day (February 3, 2021), law enforcement went with the Victim back to
the Victim’s room at the MGM Casino. When they arrived at the Victim’s room, the Victim said

that he had been robbed of approximately $6,000 in U.S. currency, approximately $1,500 to $2,500

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in poker chips, marijuana, an Xbox, a backpack, and a suitcase. Law enforcement later swabbed
areas of the Victim’s hotel room, including the hotel safe, for DNA.

Location of Sherman’s Mercedes Benz

 

56. On February 6, 2021, at approximately 7:42 p.m., law enforcement observed
SHERMAN *s Mercedes Benz drive into and park in the 600 block of 46th Place, Washington,
D.C. An individual fitting the same physical description of SHERMAN exited the Mercedes
Benz, walked over to and accessed the passenger side door, and then proceeded to walk away from
the Mercedes Benz. At approximately 9:27 p.m. that same night, law enforcement seized
SHERMAN ’s Mercedes Benz and transported it to an FBI facility.

ais On February 8, 2021, pursuant to a federal search warrant, law enforcement agents
searched SHERMAN’s Mercedes Benz. Law enforcement found and seized three black gloves, a
black mask, black pants with white stripes, bottles, and tan tennis shoes. The black pants seized
from SHERMAN’s Mercedes Benz were consistent with the pants SHERMAN was wearing at
the time of the kidnapping. The shoes seized from SHERMAN ’s vehicle are consistent with the
shoes SHERMAN was wearing when he went back to the MGM Casino and robbed the Victim’s
hotel room. Law enforcement also swabbed SHERMAN’s Mercedes Benz and the items found
in SHERMAN ’s Mercedes Benz for DNA.

Search Warrant of MUP’s Residence

 

58. On March 16, 2021, at approximately 6:00 a.m., law enforcement executed a search
warrant of MUP’s residence in Washington, D.C. MUP and one of his close relatives were located
inside the residence. A search of the residence recovered the following items of evidence, among
others: (1) a black Glock 27, 40 caliber pistol, with a magazine and five rounds of ammunition;

(2) a black Kel-tec 9mm pistol, with a magazine and seven rounds of ammunition; (3) a black

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Glock 23, 40 caliber pistol, with a magazine and ten rounds of ammunition; (4) an AR style pistol,
.223 caliber, with a magazine and twenty-three rounds of ammunition: (5) a Glock 9mm magazine;
(6) nine rounds of 9mm ammunition; (7) a clear bag with suspected cocaine; (8) mason jars and
bags containing suspected marijuana; and (9) a digital scale. Law enforcement sent all the firearms
and firearms related items to the FBI Laboratory to be swabbed for DNA.
cy Conclusion

59. Based on the foregoing facts, there is probable cause to support the issuance of the
requested criminal complaints and arrest warrants.

Respectfully submitted,

Eric Montgomery

Special Agent
Federal Bureau of Investigation

 

Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4(d) this 30th day of — March , 2021.

Yet

The Honorable Gina L. Simms
_ ¢ United States Magistrate Judge

 

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